
99 N.Y.2d 545 (2002)
MARK A. VARRICHIO AND ASSOCIATES et al., Appellants,
v.
CHICAGO INSURANCE COMPANY, Respondent.
Court of Appeals of the State of New York.
Decided December 12, 2002.
Concur: Chief Judge KAYE and Judges SMITH, LEVINE, CIPARICK, WESLEY, ROSENBLATT and GRAFFEO.
*546 Certification of question by the United States Court of Appeals for the Second Circuit, pursuant to section 500.17 of the Rules of the Court of Appeals (22 NYCRR 500.17), accepted and the issues presented are to be considered after briefing and argument.
